                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


TZVIA WEXLER
                              Plaintiff,                                 CIVIL ACTION NO. 19-5760
                 v.


CITY OF PHILADELPHIA, et al.
                              Defendants.

                                                         ORDER

           AND NOW, this 19th day of February 2020, upon consideration of the Motion to

Dismiss filed by Defendant City of Philadelphia [Doc. No. 2], to which no response has been

filed, it is hereby ORDERED that the Motion is GRANTED and the claims against the City of

Philadelphia only are DISMISSED WITHOUT PREJUDICE. 1

           It is so ORDERED.
                                                                    BY THE COURT:
                                                                    /s/ Cynthia M. Rufe
                                                                    _____________________
                                                                    CYNTHIA M. RUFE, J.

1
    Plaintiff, through counsel, alleges that the City of Philadelphia:
           failed to have established and/or enforced established policies, procedures and/or guidelines
           concerning the nature of the conduct and interaction of any Police Officer has with any individual
           in the discharge of their duties; and, in particular, in the manner in which incidents are
           investigated; when individuals are to be taken into custody and or arrested; and, when; under what
           circumstances; in what manner on officer is permitted to use force against an individual; and in
           ensuring that contacts with civilians are recorded by the recording equipment purchased by the
           taxpayers. Additionally, it failed to enforce policies, procedure and/or guidelines which existed or
           should have existed concerning the review and supervision of the actions of individual officers to
           ensure that they were conforming to established Police Department policies, procedures and/or
           guidelines and were discharging their duties in an appropriate and lawful manner.
Compl. at ¶ 48 (grammar and punctuation in original) [Doc. No. 1]. “[M]unicipalities may be held liable under
§ 1983 only if the plaintiff proves the existence of an unconstitutional policy or custom that caused her injury.”
Young v. City of Chester, PA, 764 F. App’x 262, 265 (3d Cir. 2019) (citing Brown v. City of Pittsburgh, 568 F.3d
263, 292 (3d Cir. 2009)). A complaint that contains only conclusory allegations “fails to satisfy the rigorous
standards of culpability and causation required for municipal liability.” Id. (internal quotation marks and citations
omitted). The allegations here are too broad and conclusory to state a claim. The claims against the City will be
dismissed without prejudice to Plaintiff’s ability to seek leave to file an amended complaint, if warranted.
